

People v Ndieng (2023 NY Slip Op 51347(U))



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People v Ndieng (Souleymane)


2023 NY Slip Op 51347(U)


Decided on December 13, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on December 13, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570809/16

The People of the State of New York, Respondent,
againstSouleymane Ndieng, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Kevin McGrath, J.), rendered October 25, 2016, convicting him, upon his plea of guilty, of disorderly conduct, and imposing sentence.




Per Curiam.
Judgment of conviction (Kevin McGrath, J.), rendered October 25, 2016, reversed, as a matter of discretion in the interest of justice, accusatory instrument dismissed, and surcharge, if paid, remitted. 
Based upon the People's concession, we vacate defendant's disorderly conduct conviction and dismiss the accusatory instrument without addressing the merit of defendant's contentions (see generally People v Whitelow, 2 AD3d 1393 [2003], lv denied 2 NY3d 748 [2004]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: December 13, 2023









